Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 1 of 7 Page |D #:2548

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date May 30, 2017

 

Tifl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

Paul M. Cruz N/A
Deputy Clerk C ourt Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: IN CHAMBERS ORDER GRANTING PLAINTIFFS’ MOTION FOR AN

AWARD OF DAMAGES [128].

Plaintiffs Hope Road Merchandising, LLC and Fifty-Six Hope Road Music Limited (“Plaintiffs”
or “Hope Road parties”) bring this action against Jammin Java Corporation (“Defendant”), for breach of
contract, declaratory relief, interference with prospective economic advantage, trademark infringement
under the Lanham Act, and fraudulent misrepresentation Complaint, Dkt. l (“Complaint”). ln
response, the Defendant brought counterclaims against the Plaintiffs for breach of contract, interference
with prospective economic advantage, and fraudulent misrepresentation However, after this Court’s
Order granting in part the Plaintiffs’ original Motion for Partial Summary Judggnent, Dkt. 97, the
Defendant voluntarily dismissed all of its counterclaims with prejudice. Dkt. 103.

Presently before the Court is Plaintiffs’ Motion for an Award of Damages related to the
Defendant’s trademark infringement Dkt. 128. The Plaintiffs contend that the Court’s prior rulings
in this case and the Defendant’s own admissions mandate a finding that the Defendant is liable for
trademark infringement Therefore, the only question left before the Court is the proper measure of
damages The Plaintiffs further contend that the proper measure of damages is the profits gained by the
Defendant from the unauthorized use of the Marley Trademarks. Because the Defendant cannot put
forward any valid evidence of costs or other deductions associated with the Trademarks, the proper
measure of damages is the gross revenue related to the sale of products bearing the Marley Trademarks,
which totals $2,458,835.20. For the following reasons, the Plaintiffs’ Motion is GRANTED. The
Court awards damages in the amount of $2,458,835.20.

 

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CV-90 (10/08) CIVll. MINUTES - GENERAL Page 1 of 7

Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 2 of 7 Page |D #:2549

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

I. FACTUAL AND PROCEDURAL BACKGROUND

The facts of the case as understood by the Court are well-known to the parties from previous
orders. See, e.g., Dkt. 97. ln 2012 the Plaintiffs and the Defendant entered into business together.
The Plaintiffs agreed to license certain trademarks relating to singer Bob Marley to the Defendant in
order to allow the Defendant to sell a product called “Marley Coffee.” After not receiving the proper
royalty payments from the Defendant, the Plaintiffs terminated the original long-term license agreement
on June 2_, 2016.l After the Long Term License was terminated, the parties entered into a Short Term
License that would last for six months and would allow the Defendant to continue using the Marley
Trademarks while the parties explored whether they could continue their business arrangement long
term. The Short Term License incorporated substantially the same terms as the Long Term License.

When the Plamtiffs conducted due diligence on the Defendant, they learned that the Defendant
had materially breached the Short Term License. These breaches included the Defendant’s cessation of
operations with respect to Marley Coffee, failing to conduct advertising and marketing to support the
Marley Coffee brand, unlawful sublicensing and assignment of the Short Term License to third parties,
and failure to pay the royalties owed under the Long Term License. As a result of these breaches, the
Plaintiffs formally terminated the Short Term License on or about July 21, 2016.

The current Motion for an Award of Damages arises because the Defendant apparently continued
to sell products bearing the Marley Coffee name even after the Long Term and Short Term Licenses
were terminated by the Plaintiffs. Therefore, the Defendant sold products bearing trademarks owned
by the Plaintiffs without the Plaintiffs consent, thus constituting trademark infringement Previous
counsel for the Defendant confirmed that it is liable for trademark infringement, stating, “The defendant
is conceding that given the court’s rulings and likely ruling on the summary judgment,2 it’s liable for
trademark infringement. The only question is what’s the right damages number, which under the law
essentially is profits. . ..” Geller Declaration Submitted With Reply Brief, (“Geller Decl. #2), Dkt.
137-1_, Exh. A, p. 3. As a result of this concession, the Court ordered the parties to attempt to agree on

 

1 'I`he Court has already decided in a previous Order that the Plaintiffs properly terminated the Long 'l`enn License due to the
Defendant’s breach of contract. Dkt. 97.

2 As referenced by counsel. the Court indeed granted the Plaintiffs’ Motion for Partial Summary Judgment on the question of
the proper termination of the Short Tenn License. Dkt. 122.

 

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CV-90 (10/08) CIVIL MINUTES - GENERAL Page 2 of 7

Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 3 of 7 Page |D #:2550

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date May 30, 2017

 

Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

a joint figure for the appropriate measure of damages Ia'. at 4. If the parties could not agree, the
Plaintiffs Were to file a Motion for Damages. Id at 4-5.

The parties ultimately could not agree on a damages figure, and the Plaintiffs submitted their
Motion for an Award of Damages. Dkt. 128. Af`ter changing counsel, the Defendant opposed the
Plaintiffs’ damages calculation Dkt. 135. The Court held a hearing on the matter and took the
Motion under submission. Dkt. 144.

II. LEGAL STANDARD FOR SUMMARY JUDGMENT

The Lanham Act provides the appropriate measure of damages in a trademark infringement case,
as Well as the mechanism by Which those damages are determined. U.S.C. § 1117(a). When a
violation of the Lanham Act has been established, “the plaintiff shall be entitled subject to the
principles of equity, to recover (1) defendant’s profits, (2) any damages sustained by the plaintiff, and
(3) the costs of the action.” 15 U.S.C. § 1117(a). ln describing the mechanism through which a court
might determine the proper measure of damages, the Act states, “The court shall assess such profits and
damages or cause the same to be assessed under its direction. In assessing profits the plaintiff shall be
required to prove defendant’s sales only; defendant must prove all elements of cost or deduction
claimed.” U.S.C. § 1117(a). The Ninth Circuit has confirmed that the determination of profits under
§ 1117 is not a jury question but rather a determination for the court. Fift_v-Six Hope Rd. Music, Ltd. v.
A. V.E.L.A., Inc., 778 F.3d 1059, 1076 (9th Cir_ 2015) (fmding that, because “the determination of profits
under § 1117 is not ‘fundamental, inherent in and of the essence of the system of trial by jury,”’ it
does not need to be decided by a jury).

III. DISCUSSION

The Court now finds that the Plaintiffs are entitled to trademark infringement damages in the
amount of $2,458,835.20, the amount they request They have sufficiently demonstrated that the
amount is an accurate measure of the Defendant’s gross revenues from selling the infringing products,
while the Defendant has not put forward sufficient evidence of costs or deductions related specifically to
its sale of the Marley products. As a result, the Plaintiffs are entitled to their full requested amount.

 

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CV-90 (10/08) CIVIL MINUTES - GENERAL Page 3 of 7

Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 4 of 7 Page |D #:2551

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date May 30, 2017

 

Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

A. Finding of Trademark Infringement

As discussed above, it is essentially undisputed that the Defendant is liable to the Plaintiffs for
trademark infringement The Court found that the Plaintiffs validly terminated the Short Term License
as of July 21, 2016. Dkt. 122 at 6. Therefore, after that date, the Defendant no longer had permission
to sell goods bearing the Marley Trademarks However, it continued to do so, and indeed as late as
December 21, 2016, stated to the SEC that it is “doing business as Marley Coffee using the Marley
Coffee brand name.” Geller Declaration Submitted With Motion for Damages (“Geller Decl. #1), Dkt.
128-3_, Exh. A. Thus, the Defendant is undeniably liable for trademark infringement for selling
products bearing the Plaintiffs’ marks without permission.

lndeed, the Defendant does not dispute that it is liable. At hearing, defense counsel stated, “The
defendant is conceding that given the court’s rulings and likely ruling on the summary judgrnent, it’s
liable for trademark infringement Geller Decl. #2, Dkt. 137-1, Exh. A, p. 3. Additionally, in its
opposition to the present Motion for Damages, the Defendant does not contend that it is not liable for
trademark infringement Rather, it argues that the Plaintiffs’ calculations are erroneous and the
Defendant did not actually make any profits on its infringing sale of Marley Coffee. Thus, it is clear to
the Court that the Defendant is liable for infringement and the only issue now before the Court is the
correct amount of damages that should be awarded to the Plaintiffs

B. Calculating the Damages for Trademark Infringement

Both sides appear to agree that the correct measure of damages should be the Defendant’s profits
attained from selling Marley Coffee. Although the Plaintiffs seem to believe that the Defendant is
actually contesting profits as a measure of damages, they appear to be misreading the opposition of the
Defendant Instead, the Defendant contends that the Plaintiffs are not entitled to any profits from the
Defendant’s sale of Marley Coffee because the Defendant did not in fact make any profrts, not because
profits are an inappropriate measure of trademark infringement damages as a matter of law. See Dkt.
135, 3 (“Plaintiff`s are not entitled to judgment because Jammin Java did not make a profit during the
period of infringement.”). The Defendant concedes that in order to defeat the Plaintiffs’ Motion it
needs to show that its gross revenue figures were offset by expenses Id. This is a different
contention than arguing that profits are the wrong measure of damages in this case as a matter of law.
Therefore, both parties appear to agree that the Defendant’s profits are the appropriate measure of the

 

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CV-90 (10/08) CIVIl. MINUTES - GENERAL Page 4 of 7

Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 5 of 7 Page |D #:2552

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date May 30, 2017

 

Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

Plaintiffs’ damages, at least in theory. The Court will consider the evidence put forward by both
parties in order to determine the actual amount of the Defendant’s profits3

ln assessing profits under the Lanham Act, “the plaintiff shall be required to prove defendant’s
sales only; defendant must prove all elements of cost or deduction claimed.” 15 U.S.C. § 1117(a).
The Court fmds that the Plaintiffs have indeed sufficiently demonstrated that the Defendant’s sales are
$2,458,835.20. The Plaintiffs submitted the Defendant’s own calculations of its revenues as support
for that figure. Geller Decl. #1, Exh. B. There appears no reason to doubt the numbers submitted by
the Plaintiffs, and indeed the Defendant does not dispute that $2,458,835.20 is the correct amount of
gross revenues collected by the Defendant for sales of Marley Coffee during the infringing period.

Once the Plaintiffs have proved the existence of infringing sales, the Defendant must prove all
costs or deductions claimed in order to offset those sales. 15 U.S.C. § 1117(a). Importantly, the
Defendant must show that any deductions for business expenses, “[were] of actual assistance in the
production, distribution or sale of the infringing product.” F rank Music Corp. v.
Metro-Goldwvn-Ma_ver, Inc., 772 F.2d 505, 516 (9th Cir_ 1985). The Defendant argues that its costs
associated with Marley Coffee are greater than its revenues Therefore, it did not realize any profits on
its sale of the infringing products, and thus profits cannot be used to measure the Plaintiffs’ damages

To support this contention the Defendant points to the same financial documents and calculations
as the Plaintiffs Specifically, the Defendant notes that its financial documents filed with the SEC
demonstrate that the Defendant had an overall loss of millions of dollars for every single quarter since
the beginning of the trademark agreement until October 31, 2016. Tran Decl., Dkt. 135-1, Exhs. 1, 2,
4. Additionally, the current accounting of profits demonstrates that there was an overall loss of over
three million dollars during the infringing period of July 2016 to January 2017, which easily exceeds the
amount of sales Id. at Exh. 3. Finally, the Defendant contends that all of these losses must have been
in actual assistance in the production and sale of the infringing product Marley Coffee because the
entirety of Jammin Java’s business during the infringing period was Marley Coffee, as testified to by the

 

3 Both parties also address whether disgorgement of gross revenues, rather than profits, may also be an appropriate measure
of damages because of the willful nature of the Defendant’s infringement However, the Court need not and does not reach
a finding on that issue. Damages equal to the Defendant’s mere profits provide equitable compensation to the Plaintiffs, as
required by the Lanham Act. Therefore, there is no reason to decide whether the Plaintiffs are actually entitled to a more
serious award of damages in the form of disgorgement due to the Defendant’s willfulness

 

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CV-90 (10/08) CIVIL MINU'I'ES - GENERAL Page 5 of 7

Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 6 of 7 Page |D #:2553

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date May 30, 2017

 

Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

former president of the Defendant Id. at 1[ 8. For these reasons, the Defendant contends that it has
satisfied its burden of demonstrating that its costs and expenses associating with producing and selling
Marley Coffee exceeded its revenues

However, the Court now finds that the Defendant has not met its burden. The Defendant
concedes that it bears the burden of proving costs and deductions that were “of actual assistance in the
production, distribution or sale of the infringing product.” F rank Music, 772 F.2d at 516 (fmding
insufficient evidence that overhead deductions actually contributed to infringing sales). The
Defendant’s showing is not sufficient for the Court because it has not demonstrated to the satisfaction of
the Court that its entire business related to Marley Coffee. As the Plaintiffs demonstrate in their reply
belief, there is strong evidence that the Defendant was developing a competing, non-Marley brand of
coffee during the infringing period. The Defendant admitted this development of a competing brand in
a letter to shareholders on October 7, 2016, which was within the infringing period. Geller Decl. #2 at
Exh. B. The Plaintiffs have submitted other evidence that the Defendant devoted significant resources
to this endeavor.4 Id. at Exhs. D, E, F. G, H, I.

This evidence is important because the Defendant has not even attempted to demonstrate to the
Court which of its expenses were related to Marley Coffee and which were related to the development of
its new competing brand. Instead, it chose to rely on a conclusory statement by its former president
that all of its costs and deductions were related to Marley Coffee because Marley Coffee constituted its
entire business That statement now appears to be untrue. Therefore, although undoubtedly some of
its expenses related to the sale and production of Marley Coffee, the Defendant has failed to meet its
burden of properly allocating the infringing expenses, which is fatal to its attempt to demonstrate
offsetting costs See F rank Music, 772 F.2d at 516. ln F rank Music, although the Ninth Circuit
acknowledged that some of the defendants’ claimed overhead contributed to the production of the
infringing product, it found that the defendants could not claim any deductions based on its overhead
because it offered no evidence of how those costs were allocated between infringing and non-infringing
products ]a'.

The same is true in this case. The Defendant’s claim that all of its expenses were related to the
production and sale of Marley Coffee has been refuted by reliable evidence, and it provides no

 

4 Some of this evidence is subject to a protective order between the parties and was initially filed in redacted form, although
the Plaintiffs later submitted an unredacted form of the evidence under seal.

 

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CV-90 (10/08) CIVIL MINU'I'ES - GENERAL Page 6 of 7

Case 2:16-cV-05810-SVW-I\/|RW Document 146 Filed 05/30/17 Page 7 of 7 Page |D #:2554

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-05810-SVW-MRW Date May 30, 2017

 

Titl€ Fift_v-Six Hope Road, et al. v. Jammin Java Corporation

 

additional evidence of costs or expenses exclusively related to Marley Coffee. Therefore, because it is
the Defendant’s burden to prove its costs and expenses related to its sale of the infringing product and
the Defendant has not met that burden, it is not entitled to offset the Plaintiffs’ showing of gross
revenues5 As a result, the Plaintiffs are entitled to the Defendant’s revenues of $2,458,835.20. This
figure, although equal to the Defendant’s revenues, actually represents the Court’s estimate of the
Defendant’s profits, as the Defendant is not able to make any deductions from that number for the
reasons stated above.

IV. ORDER

For the foregoing reasons, the Court GRANTS the Plaintiffs’ Motion for an Award of Damages.
The Plaintiffs are awarded $2,458,835.20 as a measure of damages for the Defendant’s trademark
infringement

The prevailing party will submit a proposed judgment consistent With this Order. Additionally,

the Court’s understanding is that this is the fmal issue to be decided by the Court in this case and thus
this Order closes the action. The parties shall notify the Court immediately if that is not the case.

IT IS SO ORDERED.

 

5 'I'he Plaintiffs originally contended that the Defendant’s calculations of its expenses should not be given weight because of
a discrepancy in the Defendant’s records However, because the Court finds that the Plaintiff is entitled to the full amount
requested due to the Defendant’s failure to allocate its expenses the Court need not make a finding on this issue.

 

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CV-90 (10/08) CIVIL MINU'I'ES - GENERAL Page 7 of 7

